                                                                                Case 3:08-cv-02912-JSW Document 112 Filed 06/26/09 Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   NUANCE COMMUNICATIONS INC,
                                                                         10                  Plaintiff,                                 No. C 08-02912 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   ABBYY SOFTWARE HOUSE, et al.,                             ORDER SETTING BRIEFING
                                                                                                                                        SCHEDULE ON MOTION TO
                                                                         13                  Defendants.                                DISMISS
                                                                         14                                                   /
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                                                                                     This matter is set for a hearing on August 21, 2009 on Defendants’ motion to dismiss.
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                                                                              The Court HEREBY ORDERS that an opposition to the motion shall be filed by no later than
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                                                                              July 10, 2009 and a reply brief shall be filed by no later than July 17, 2009.
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                                                                                     If the Court determines that the matter is suitable for resolution without oral argument, it
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                                                                              will so advise the parties in advance of the hearing date. If the parties wish to modify this
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                                                                              schedule, they may submit for the Court’s consideration a stipulation and proposed order
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                                                                              demonstrating good cause for any modification requested.
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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: June 26, 2009
                                                                         25                                                             JEFFREY S. WHITE
                                                                                                                                        UNITED STATES DISTRICT JUDGE
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